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                     Exhibit 3
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                                                                              1

 1      IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
 2
 3        COMMONWEALTH OF PA             CRIMINAL DIVISION
 4                                       CC 4961-2006
                   vs
 5                                       PROBATION VIOLATION HEARING
 6        DUANE YOUNGBLOOD,              REPORTED BY:
                                         Jane E. Sporrer
 7                                       Official Court Reporter
                     Defendant.
 8                                       DATE:
                                         June 8, 2015
 9
                                         BEFORE:
10                                       Hon. David Cashman
11                                       COUNSEL OF RECORD:
12                                       For the Defendant:
                                         Milton Raiford, Esq.
13
                                         ALSO PRESENT:
14                                       Ashlee Lynn
                                         Probation Officer
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 1                                 June 8, 2015
 2                                      - - -
 3                            THE CLERK: Your Honor, now is the date
 4                     and time set for the violation hearing for
 5                     Duane Youngblood.
 6                            Mr. Youngblood, please come forward
 7                     with your counsel.
 8                            (Defendant sworn.)
 9                            THE COURT: Ms. Lynn.
10                            MS. LYNN: Thank you, Your Honor.
11                     Mr. Youngblood stands before you as a
12                     technical and convicted violator. He was
13                     originally sentenced by Your Honor on March
14                     3rd of 2008 for one count of Felony 2 sexual
15                     assault to a period of one year intermediate
16                     punishment and a seven-year concurrent period
17                     of probation. He stands before you with a
18                     new conviction at 2014-10522 for one count of
19                     corruption of minors, a felony of the third
20                     degree. That was heard by the Honorable
21                     Judge Rangos. He was sentenced to 16 to 48
22                     months at the state correctional institute.
23                            Throughout the period of supervision
24                     initially there were some issues. Your Honor
25                     did order the defendant -- that he was
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                                                                              3

 1                     prohibited from counseling any children. He
 2                     was involved in pastoral services through his
 3                     church. So probation was contacted by the
 4                     police chief in Homestead regarding possible
 5                     interactions with children in the community
 6                     in regards to his church duties. So that was
 7                     monitored closely.
 8                            He began sex offender treatment with
 9                     Dr. Coufal's office. The defendant was
10                     allowed by the Court to travel regarding some
11                     church business trips out of the state. Your
12                     Honor did grant permission until one of the
13                     trips in December of 2010. The Court granted
14                     the travel permit. The defendant cancelled
15                     the trip. So at that point Your Honor
16                     ordered all future requests to travel outside
17                     the state would be denied.
18                            Ultimately in July of 2014 the
19                     probation officer received a phone call from
20                     a woman stating that her son admitted or the
21                     defendant admitted to her that he had
22                     sexually assaulted her son. He was arrested
23                     for the attributable charge. Additional
24                     charges were filed against the defendant for
25                     corruption of minors, involuntary deviate
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 1                     sexual intercourse and indecent assault with
 2                     offense dates back in 2009. Those charges
 3                     were ultimately withdrawn; however, the
 4                     defendant was then convicted of the sole
 5                     count of corruption of minors by Judge
 6                     Rangos.
 7                            THE COURT: Mr. Raiford.
 8                            MR. RAIFORD: I have no dispute with
 9                     those facts as given by the probation
10                     officer. I got involved in this case -- a
11                     difficult situation because, you know, you
12                     would not expect -- you expect the church to
13                     be a safe place and you expect people who
14                     come to counsel with you as a clergyman as
15                     people who need help. And so -- but I was
16                     persuaded to take the case based on the fact
17                     that I knew and I had learned that people who
18                     had been abused are more likely -- can easily
19                     become abusers. So when I talked to
20                     Mr. Youngblood and found out the depth of the
21                     abuse that was heaped upon him by the church,
22                     I mean, it is really -- it is really the
23                     greatest -- one of the greater abnormalities
24                     in our society, I believe, whether it is the
25                     Catholic church or Baptist church or any kind
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 1                     of church, to see leaders in the church fall
 2                     to that type of sin is horrific in terms of
 3                     building confidence of the parishioners and
 4                     the presence and the need for God in their
 5                     lives. So I recognize the abhorrent nature
 6                     of this particular conduct.
 7                            But I also know that Mr. Youngblood,
 8                     through talking to him, had been so abused
 9                     himself. That's not an excuse at all for his
10                     conduct, not at all. It just brings me some
11                     clarity in terms of understanding, which
12                     means that we who are clergymen have to be a
13                     lot more vulnerable and transparent about
14                     what's going on inside of us and not cover it
15                     up so we might minister to those that we are
16                     called to and give great healing to instead
17                     of destruction upon them.
18                            Mr. Youngblood did plead guilty in
19                     front of Judge Rangos, did get sentenced to
20                     16 to 48 months. At the time that he was
21                     sentenced he did not take the credit at that
22                     particular time. So the day he got sentenced
23                     his sentence began. He had already at that
24                     particular time been incarcerated on this
25                     Court's detainer from July 12, 2014.
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 1                     Ms. Hayes, I believe, has those dates that he
 2                     is entitled to credit for on this particular
 3                     case.
 4                             THE CLERK: So does the judge.
 5                             MR. RAIFORD: So with that being said,
 6                     Your Honor, I know my client would like to
 7                     address the Court. I think he should. I will
 8                     just ask the Court to be merciful in as much
 9                     as you know as well as I know this day was
10                     going to come and you have control over
11                     Mr. Youngblood. But the truth is --
12                             THE COURT: I have no control over him.
13                     Absolutely none. He has lied and he has
14                     scammed and he has conned me from the day he
15                     stood in front of me. I am going to go to
16                     Ohio to some church to celebrate its opening.
17                     I am going to stay in this hotel. We signed
18                     the order. An hour after signing the order
19                     he cancels the hotel reservation, so we don't
20                     know where he is. And that didn't happen
21                     once. It didn't happen twice. It happened a
22                     whole bunch of times. I got a whole bunch of
23                     stuff in here from him. It got to the point
24                     we just cut him off.
25                             MR. RAIFORD: I'm sorry, Your Honor.
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 1                            THE COURT: Mr. Youngblood, anything you
 2                     would like to tell me?
 3                            THE DEFENDANT: Yes, sir. First I
 4                     would like to say I take full responsibility
 5                     for the reason I'm standing in front of you
 6                     today.
 7                            I would hopefully like the opportunity
 8                     to address what you just spoke to as well.
 9                     When I took the plea in front of you in 2008,
10                     my attorney at the time -- I had
11                     conversations to apply for travel with him.
12                     They told me the way to set it up, since I
13                     was going to be going every week to establish
14                     a ministry in Cleveland, that we needed to
15                     get it four weeks in advance. I said, well,
16                     I am going to do Hotwire to get my hotels the
17                     week of. He said that they would not send it
18                     to your office that way. They need to do it
19                     four weeks at a time. So we did Holiday Inn
20                     Express reservations and gave notes to him.
21                     He said the week you are going to go you make
22                     your reservation through Hotwire. That's what
23                     I did. When he stopped doing it and a
24                     paralegal started sending those to your
25                     office, we continued that same process. After
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 1                     I was told by the probation office that the
 2                     tipstaff had contacted them regarding it, I
 3                     came here the next day and to the probation
 4                     office and brought receipts for every hotel
 5                     stay that I had. There was absolutely no
 6                     effort whatsoever to deceive you, and I did
 7                     what the attorney told me to do at that time.
 8                            As it relates to this case, as I said,
 9                     I'm 100 percent responsible for what
10                     happened. I would like to briefly explain my
11                     process. When I was 12 years of age I won a
12                     singing competition, and that singing
13                     competition put me on a tour. The first stop
14                     was in Baltimore. After the first night that
15                     I sang I was taken to the penthouse
16                     apartment, penthouse room for the person who
17                     was the president of that conference, that
18                     youth conference. I was sexually assaulted
19                     that evening by that person. A month later
20                     my mother wanted me to switch the person who
21                     was playing piano for me, so we switched to a
22                     new piano player. And one rehearsal she was
23                     unable to attend and I went to his home and
24                     was taken from -- after singing the song, I
25                     was taken to his bedroom where he took my
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 1                      clothes off, did oral sex and anal sex on me.
 2                      I came home. My mother didn't understand why
 3                      I did no longer want to do the tour. But a
 4                      little over a month after that, lying in my
 5                      bed one morning, I hear my sister who's 13
 6                      months younger than me in a room above me.
 7                      She is saying, No, don't do that, No, don't
 8                      do that. I thought someone had broken into
 9                      our home. I finally got the courage to get
10                      out of my bed, walk into my dining room,
11                      stomped on the floor to try to get the
12                      person's attention. I finally see my father
13                      walk out of my sister's room. For the next
14                      three-and-a-half years I would hear this and
15                      see this on a consistent basis. I hated
16                      myself because I didn't ever say a word. I
17                      didn't stop it from happening, and I wish I
18                      had. Fast-forward to my therapy. In the
19                      first year of therapy which began in July of
20                      '09, the first year of therapy, we did a
21                      book. And in this book I learned that people
22                      who commit sex offenses typically have a hard
23                      time expressing emotion. I also learned what
24                      the sex offense cycle is. It was also at that
25                      same time I met Jasmine Riviera (phonetic)
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                                                                               10

 1                      who was my probation officer. She was clear
 2                      with me what the standard was as far as
 3                      working with people, counseling people under
 4                      age. I was never told that the police
 5                      officers or anybody like that had complained
 6                      about us doing something with the church.
 7                      What I was told was my wife was sponsoring a
 8                      youth program in our community and she said
 9                      that it is being housed at the same building
10                      that your office is in. As soon as I was told
11                      that, we stopped that program and moved it to
12                      a different building so that I wasn't where
13                      it was being housed. That was 2009. In
14                      December of 2011 the -- in therapy a lot of
15                      us were asking questions of the therapist,
16                      and he said something that changed my life
17                      forever. He said that every sex offense has
18                      four components: Anger, power, intimacy
19                      needs and physiological sex. Up to that
20                      point I realized I had been living my life
21                      stuck in my childhood. I was waiting for my
22                      father to come back, waiting for the four
23                      other men who had sexually assaulted me
24                      before I was 18 years of age to come back and
25                      make things right in my life. Therefore, I
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                                                                               11

 1                      was keeping this stuff buried and a secret
 2                      from anybody who could have done anything to
 3                      help me.
 4                              And I had gone on, gone to college,
 5                      graduated. I started the ministry. It was
 6                      doing well. So I was able to do a lot of
 7                      things that were good, but I had this thing
 8                      going on inside my heart at the same time
 9                      that was very, very destructive. Once he told
10                      me that, I began immediately in January in
11                      individual therapy and in my group therapy
12                      working to deal with the anger, the
13                      powerlessness that I felt and why I couldn't
14                      share with people. I listened to people for
15                      years. I helped people for years, but I had
16                      not shared what I was going through my own
17                      self.
18                              I have been married to a wonderful
19                      woman who's sitting in this courtroom today
20                      for 26 years. I was not able to share with
21                      her openly what was going on down on the
22                      lower level of my heart. My problem was that
23                      I spent so much time stuck in the past that I
24                      was missing the love and the people who
25                      really were there for me in my present.
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                                                                               12

 1                            So I am tremendously sorry. I have
 2                      never to my knowledge tried to deceive this
 3                      Court. I did not do what this Court asked me
 4                      to do. I committed another violation, and I
 5                      regret that. I am standing in front of you
 6                      today. I am a 100 percent different person.
 7                      I am not that guy. I have a support system in
 8                      my life. I am not trying to avoid
 9                      consequences.
10                            When I stood in court here on December
11                      1st, sitting back in that room with me was my
12                      mother-in-law who had Stage 4 cancer. I lost
13                      her in March of this year, didn't get to
14                      attend that funeral. My daughter had our
15                      first grandbaby a day later. I wasn't there
16                      for that. My wife and I celebrated our 25th
17                      anniversary. I wasn't there for that. My
18                      daughter just got married. My oldest just
19                      got married yesterday and I was unable to
20                      give her away.
21                            I intend to not deceive you, manipulate
22                      you or anybody else. I am working every day
23                      of my life to get out of this hole that I'm
24                      in every day. When I'm in that jail I'm
25                      working to help people. I made a promise to
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                                                                               13

 1                      myself to be good to me and to be good to
 2                      everybody I encounter. I have 100 percent
 3                      apologized for my ignorance relative to those
 4                      reservations in Ohio.
 5                            But I was not ignorant in this case
 6                      before Judge Rangos. I did what I did and it
 7                      was wrong to do and I'm going to work every
 8                      day of my life to see to it that when I die
 9                      people won't think bad of me, they'll think
10                      of the good things that I've done.
11                            MS. LYNN: Your Honor, if I could also
12                      add, the victim's mother is here, and I
13                      believe she would like to address the Court.
14                            THE COURT: Sure.
15                            (Witness sworn.)
16                            MR. LYNN: State your name for the
17                      record, ma'am.
18                            MS.              My name is Sarah
19                            MS. LYNN: Spell that, please.
20                            MS.              S-a-r-a-h
21                            MS. LYNN: This is your opportunity to
22                      let Judge Cashman know how you feel and
23                      anything you would like him to know about
24                      your situation that your son was in.
25                            MS.              Good morning, Your Honor.
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                                                                               14

 1                            THE COURT: Good morning.
 2                            MS.              Your Honor, I sat there
 3                      and I contemplated actually speaking this
 4                      morning. Youngblood has caused me and my son
 5                               (phonetic), my entire family a great
 6                      deal of pain and hurt. When my son
 7                      told me that he was molested by this man, it
 8                      felt like someone had ripped my heart out of
 9                      my chest. And I confronted Youngblood and he
10                      denied everything. Up until our hearing
11                      December 15th, our trial, he denied
12                      everything.
13                            This man with an ankle bracelet on his
14                      leg was still molesting children. My husband,
15                      me, all of my children served this man, his
16                      ministry faithfully for twelve years.
17                      Faithfully. My son was molested when he was
18                      four years old, and he went to Youngblood
19                      with my husband seeking help, counseling that
20                      he never received. Mr. Youngblood said that
21                      his ministry is about helping young men who
22                      were hurting, but he, instead of helping
23                      them, inflicted more pain and suffering on
24                      them. He was supposed to encourage them,
25                      protect them, give them the word of God, be a
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                                                                               15

 1                      role model for them. My son, my husband
 2                      called him Dad. They respected him. They
 3                      admired him. They looked up to him. And he
 4                      betrayed my son and he betrayed my family.
 5                      He is not repentant. He is not sorry for what
 6                      he did. This man used to smile at me. At the
 7                      time I didn't know what happened to my son.
 8                      He would come into the sanctuary and be
 9                      smiling. We would be sitting in meetings.
10                      He would be smiling at me because he knew
11                      what he was doing and I didn't know. He told
12                      my son, whatever you do -- do not tell your
13                      mother whatever you do.
14                            Your Honor, he is a serial child
15                      molester. My son is a victim, but there's
16                      still so many other victims who are out there
17                      who have still not come forward. That's all I
18                      have to say, Your Honor.
19                            THE COURT: Mr. Raiford, do you have
20                      any questions?
21                            MR. RAIFORD: Ms.                  you had also
22                      at the time that Mr. Youngblood was sentenced
23                      before Judge Rangos -- you spoke on that day
24                      to similar things to what you spoke today,
25                      correct?
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                                                                                16

 1                             MS.              Yes, I did.
 2                             MR. RAIFORD: And your -- I believe your
 3                      daughter spoke also; is that true?
 4                             MS.              My now 18-year old
 5                      daughter and my 16-year old son also spoke.
 6                             MR. RAIFORD: And your daughter, when
 7                      she spoke, she offered Mr. Youngblood
 8                      forgiveness for what he had done, did she
 9                      not?
10                             MS.              I'm not my daughter. Let
11                      me ask you a question. You know, you
12                      verbally reprimanded me and my family because
13                      me and my husband did not say we forgave him.
14                      Maybe you never had a child that was molested
15                      by somebody that you trusted and you confided
16                      in to understand the pain, the hurt and
17                      suffering that me and my family are going
18                      through.
19                             MR. RAIFORD: I appreciate that, but I
20                      just wanted to ask that. The judge gave me
21                      an opportunity to ask some questions. I just
22                      asked that particular question. I have no
23                      more questions.
24                             THE COURT: Thank you, ma'am.
25                             MS.              Thank you, Your Honor.
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                                                                               17

 1                            THE COURT: Mr. Raiford, anything
 2                      further?
 3                            MR. RAIFORD: Just that, Your Honor, I
 4                      do believe that the glory of justice is alive
 5                      and it's redeemed. The foundation of his
 6                      repentance -- no one can ever really count
 7                      on. I told Mr. Youngblood that. You can't
 8                      count on anybody ever receiving your
 9                      repentance when you are hurt. I understand
10                      that. You can't make anybody forgive you.
11                      That's something that has got to be between
12                      Mr. Youngblood and God. I get that. I
13                      wouldn't be standing here if I didn't believe
14                      he was repentant. But I understand. I'm not
15                      -- as Ms.             said, my children were not
16                      part of that church and I don't know what
17                      she's feeling. Their perspective is their
18                      perspective. I can't diminish that one step.
19                      This Court is -- that's why we have courts
20                      and that's why I believe judges are called by
21                      God to be judges. I don't believe in the
22                      electoral process of judges, but I know this
23                      Court enough to know you were supposed to be
24                      sitting there because you were ordained to do
25                      that from a long time ago. So with that
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                                                                               18

 1                      being said, I do believe that in time, no
 2                      matter how much time it is, maybe, maybe not
 3                      he will be forgiven by Ms.                   But I
 4                      know this is true. God forgives us. I just
 5                      rest on that truth that God does forgive us
 6                      seven times seventy, infinitely so. So with
 7                      that being said, I'm standing here asking the
 8                      Court to be merciful.
 9                            THE COURT: All right. We'll note that
10                      with respect to the case that Mr. Youngblood
11                      had in front of Judge Rangos she ordered a
12                      pre-sentence report. That report was dated
13                      February 17, 2015. Since Mr. Youngblood has
14                      been in jail the entire time there's no need
15                      to update that particular report.
16                            But in reviewing the report I'll note
17                      that a little bit more than a year after I
18                      placed him on probation he was charged with
19                      corruption of morals of a minor, involuntary
20                      deviate sexual intercourse and indecent
21                      assault. Granted, the charges were withdrawn.
22                      It also notes in a footnote the defendant had
23                      several other arrests that were withdrawn,
24                      dismissed or disposed of at the magisterial
25                      level. I only say this because that
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                                                                               19

 1                      substantiates what my dealings with
 2                      Mr. Youngblood has been. I have been misled.
 3                      I have been deceived. I have been actually
 4                      lied to as to what he was doing when he went
 5                      out of this jurisdiction.
 6                            Taking into consideration the nature of
 7                      this particular offense, the impact upon his
 8                      victims, the danger that he presents to
 9                      society, his rehabilitative needs, we are
10                      going to fashion a sentence to make sure that
11                      all of those are taken care of. It appears
12                      Mr. Youngblood is not in a position to be
13                      rehabilitated as he continues on the course
14                      preying on small children, young men to
15                      satisfy his particular sexual desires.
16                            Accordingly, we are going to vacate his
17                      period of probation, take into consideration
18                      the guidelines that were applicable to his
19                      original case. We are going to sentence him
20                      to a period of incarceration of not less than
21                      54 nor more than 108 months, which will run
22                      consecutive to any sentence he is now
23                      serving.
24                            You have the right within ten days of
25                      today's date to file a motion seeking to
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                                                                               20

 1                      modify your sentence or you can take a direct
 2                      appeal to Superior Court within thirty days.
 3                      Should you decide to file a post-sentencing
 4                      motion or take an appeal to Superior Court or
 5                      do both, you are entitled to be represented
 6                      by counsel. If you cannot afford counsel, we
 7                      will appoint counsel for you.
 8                            I now have to make a determination as
 9                      to whether or not he is entitled to a RRRI
10                      sentence.
11                            MS. LYNN: I don't believe so, Your
12                      Honor.
13                            THE COURT: That being said, there will
14                      be no RRRI sentence to be imposed.
15                            Do you have any questions about your
16                      sentence?
17                            THE DEFENDANT: No.
18                            THE COURT: Any questions about your
19                      post-sentencing rights?
20                            THE DEFENDANT: No.
21                            THE COURT: Okay. Thank you.
22                            (Whereupon, this hearing concluded.)
23                                    - - -
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25
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 1      COMMONWEALTH OF PENNSYLVANIA
 2       COUNTY OF ALLEGHENY
 3
                                     CERTIFICATE OF REPORTER
 4
 5                    I, Jane E. Sporrer, do hereby certify that the
 6                  evidence and proceedings are contained fully and
 7                  accurately in the machine shorthand notes taken by me
 8                  on the trial of the within cause, that the same were
 9                  transcribed under my supervision and direction, and
10                  this is a correct transcript of the same.
11
12
                                              ____________________________
13                                            Jane E. Sporrer
                                              Official Court Reporter
14
15                The foregoing record of the proceedings upon the trial
16       of the above cause is hereby approved and directed to be
17       filed.
18
19                                            ____________________________
20
21
22
23
24
25
